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13                                  UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15                                        OAKLAND DIVISION

16   CHUBA HUBBARD and KEIRA                      Case No. 4:23-cv-01593-CW
     MCCARRELL, on behalf of themselves
17   and all others similarly situated,
18                   Plaintiffs,                  NOTICE OF MOTION AND PLAINTIFFS’
                                                  MOTION FOR ATTORNEYS’ FEES,
19         v.                                     REIMBURSEMENT OF LITIGATION
                                                  EXPENSES, AND SERVICE AWARDS FOR
20   NATIONAL COLLEGIATE ATHLETIC                 CLASS REPRESENTATIVES
     ASSOCIATION; ATLANTIC COAST
21   CONFERENCE; THE BIG TEN
     CONFERENCE, INC.; THE BIG 12                 Date:      April 7, 2025
22   CONFERENCE, INC.; PAC-12                     Time:      10:00 am
     CONFERENCE; and SOUTHEASTERN                 Judge:     Hon. Claudia Wilken
23   CONFERENCE,                                  Courtroom: 2, 4th Floor
24                   Defendants.
25

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 1                                 NOTICE OF MOTION AND MOTION
 2          PLEASE TAKE NOTICE that on April 7, 2025, at 10:00 a.m., in the courtroom of the
 3   Honorable Claudia Wilken of the United States District Court of the Northern District of California,
 4   located at 1301 Clay Street, Courtroom 2 – 4th Floor, Oakland, CA 94612, plaintiffs will and hereby
 5   do move the Court for an order:
 6          1.      Awarding Class Counsel $40 million in attorneys’ fees;
 7          2.      Approving reimbursement of $338,632.44 in expenses and costs incurred by Class
 8                  Counsel; and
 9          3.      Approving an incentive award of $50,000 for each of the two Class Representatives.
10          This motion is based on this notice of motion and motion, the accompanying memorandum
11   of points and authorities, the declarations in support of the motion, argument by counsel at the
12   hearing before this Court, any papers filed in reply, such oral and documentary evidence as may be
13   presented at the hearing of this motion, and all papers and records on file in this matter.
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 1                                       STATEMENT OF ISSUES
 2      1) Class Counsel have dedicated over $4.7 million in contingent attorney and professional time
 3   to this matter. Counsel now seek an attorneys’ fee award in the amount of $40 million, which
 4   represents 20% of the common settlement fund. Should this Court exercise its discretion to approve
 5   the fee request as fair and reasonable when Class Counsel obtained an exceptional result that will
 6   provide injured class members with approximately 66% of their actual damages before fees and
 7   expenses are deducted?
 8      2) Class Counsel have advanced $338,632.44 in out-of-pocket expenses in this litigation, mainly
 9   attributable to the costs of essential experts. Should the Court approve reimbursement of this amount
10   as fair and reasonable?
11      3) Should the Court grant a $50,000 incentive award to each of the two Class Representatives for
12   their work and personal risks in helping attain an exceptional settlement for class members?
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 1
                                            I.      INTRODUCTION
 2
             The $200 million non-reversionary common fund from which Winston & Strawn LLP
 3
     (“Winston”) and Hagens Berman Sobol Shapiro LLP (“Hagens Berman,”) (collectively “Class
 4
     Counsel”) seek fees is the result of two years of extensive litigation and over a decade of Class
 5
     Counsel’s broader efforts on behalf of college athletes challenging Defendants’ restraints on college
 6
     athlete compensation. If finally approved, this settlement will reimburse college athletes who
 7
     competed on a Division I athletic team at any time between April 1, 2019, and September 15, 2024,
 8
     and would have earned Academic Achievement Awards (or “Awards”), absent Defendants’ rules and
 9
     agreements prohibiting such compensation, which this Court previously struck down. See In re NCAA
10
     Athletic Grant-in-Aid Cap Antitrust Litig., 375 F. Supp. 3d 1058 (N.D. Cal. 2019), aff’d sub nom.
11
     NCAA v. Alston, 594 U.S. 69 (2021). This settlement is also part of Class Counsel’s broader litigation
12
     campaign in House and Carter that will collectively force Defendants to end decades-old restraints on
13
     college athlete compensation, and fundamentally reform college sports into a more equitable system
14
     for the athletes.
15
             The extraordinary benefits provided to class members by the settlement is self-evident: the
16
     $200 million common fund (the “Settlement Fund”) represents nearly two-thirds of the Settlement
17
     Class’s single damages claims—far beyond typical recoveries in antitrust class actions. See
18
     Declaration of Brian T. Fitzpatrick (filed concurrently herewith) (“Fitzpatrick Decl.”), ¶ 33. Moreover,
19
     Class Counsel faced significant risks in achieving this victory, operating on a contingency basis and
20
     working tirelessly to meet the Court’s fast-paced schedule, conducting extensive discovery and fully
21
     briefing class certification in less than six months, while simultaneously engaging in contentious and
22
     extensive settlement discussions. The litigation also presented individualized proof issues that created
23
     reasonable uncertainty of whether the Court would have certified a class in this case. In light of the
24
     substantial risks and complex issues Class Counsel faced in this litigation, as well as the excellent
25
     monetary result obtained for the Settlement Class, Class Counsel seeks an Order: (i.) awarding it 20
26
     percent of the $200 million non-reversionary Settlement Fund ($40 million) as fees, paid over a ten-
27
     year period; (ii) granting reimbursement of $338,632.44 to cover the out-of-pocket litigation expenses
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 1   incurred in connection with prosecuting this litigation; and (iii) awarding incentive awards of $50,000
 2   to each Class Representative.
 3           The attorneys’ fees requested are warranted under the percentage-of-the-fund analysis, which
 4   is the preferred methodology when common funds have been created for the class. See Fitzpatrick
 5   Decl. ¶¶ 14–16. Class Counsel’s fee request is below the 25% starting benchmark in the Ninth Circuit
 6   and is consistent with fee percentages courts across the circuits have approved in other “megafund”1
 7   cases. See, e.g., Benson v. DoubleDown Interactive, LLC, 2023 WL 3761929, at *1–3 (D. Wash. June
 8   1, 2023) (awarding almost 29.3% of $415 million settlement fund); Grant-in-Aid, 2017 WL 6040065,
 9   at *2 (N.D. Cal. Dec. 6, 2017) (noting that “of the 19 antitrust settlements between 2009 and 2013,
10   with a mean recovery of $501.09 million and a median recovery of $37.3 million, the mean and median
11   fee percentages were 27% and 30%”); In re Facebook, Inc. Consumer Privacy User Profile Litig.,
12   2023 WL 8445812, at *2 (N.D. Cal. Oct. 10, 2023) (awarding 25% of a $725 million fund).
13           A lodestar cross-check is not required in the Ninth Circuit, especially in a case such as this
14   one, where the settlement was achieved quickly, and the case was part of a broader litigation campaign.
15   See Farrell v. Bank of America Corp., N.A., 827 F. App’x 628, 630 (9th Cir. 2020) (observing that the
16   Ninth Circuit has found the lodestar crosscheck to be “inapplicable or unhelpful in certain specific
17   situations”); Fitzpatrick Decl. ¶¶ 14, 16, 41. But even if the Court does perform a lodestar crosscheck,
18   it would show the requested fee is reasonable, particularly when viewed in the context of the work
19   Class Counsel has done to benefit class members in interrelated cases. Fitzpatrick Decl. ¶¶ 49–54.
20                                         I.      BACKGROUND
21   A.      The Work Undertaken by Class Counsel
22           The settlement in Hubbard was the culmination of close to two years of litigation, which
23   included aggressively pursuing and analyzing a massive record of information from all Power Five
24   Conference member schools and many additional Division I schools, fully briefing class certification
25   in less than six months, negotiating a discovery process, and otherwise working tirelessly to meet the
26   Court’s fast-paced schedule, ahead of the scheduled trial in December 2024. The litigation was also
27   1
      In re Optical Disk Drive Prods. Antitrust Litig., 959 F.3d 922, 932 (9th Cir. 2020) (noting that the
     Ninth Circuit has “not identified a bright-line definition for ‘megafund,’” but that a settlement of
28   $124.5 million qualified).
                                                        2
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 1   part of a broader litigation campaign spanning more than a decade, all of which were led by one or both
 2   Class Counsel, challenging Defendants’ anticompetitive athlete compensation rules. See, e.g.,
 3   O’Bannon v. NCAA, No. 4:09-cv-03329-CW (N.D. Cal.); In re NCAA Student-Athlete Name & Likeness
 4   Litig., No. 4:09-cv-01967-CW (N.D. Cal.); Grant-In-Aid, No. 4:14-md-02541-CW (N.D. Cal.); In re
 5   College Athlete NIL Litig. (“House”), No. 4:20-cv-03919-CW (N.D. Cal.); Carter v. NCAA, No. 4:23-
 6   cv-6325-RS (N.D. Cal.). These cases have fundamentally reformed the compensation system for
 7   Division I athletes—introducing, among other things, direct cash payments to college athletes.
 8           Hubbard was born from Grant-in-Aid (and the Supreme Court’s Alston decision affirming
 9   Grant-in-Aid), where Class Counsel pursued and secured an injunction from this Court against NCAA
10   rules prohibiting FBS football and Division I basketball players from receiving education-related
11   compensation, including cash payments of up to $5,980 in academic or graduation awards or
12   incentives (i.e., the Academic Achievement Awards). See Grant-in-Aid, 375 F. Supp. 3d 1058. The
13   injunctive relief obtained by Class Counsel was unanimously upheld by the Supreme Court and
14   spurred a dramatic shift in the college sports landscape. Alston, 594 U.S. 69.2 Indeed, following the
15   Supreme Court’s decision in Alston, the NCAA revised its Bylaws to allow all Division I athletes to
16   receive Academic Achievement Awards.
17           The Court’s injunction unlocked life-changing benefits for NCAA Division I athletes. While
18   the injunction capped Academic Achievement Awards and did not require schools to pay them, with
19   the categorical prohibition on cash payments removed, competition for athletes’ services led many
20   colleges to pay such Awards. Complaint (“Compl.”), ECF No. 1, ¶ 4. By the time Class Counsel filed
21   for class certification in this case, every single school in each of the Power Five Conferences, plus
22   many schools in other conferences, including every school in the Big East, offered Academic
23   Achievement Awards. See Plaintiffs’ Motion for Class Certification (“Class Cert. Mot.”), ECF No.
24   149, at 1.
25           While the Alston injunction was of great significance, it did not rectify the damages suffered
26   2
       It bears mention that Plaintiffs’ counsel—which included Winston, Hagens Berman, and two other
27   law firms—were only awarded roughly $36.4 million in attorneys’ fees for the more than seven years
     spent working on the groundbreaking injunctive relief obtained in Alston. Class Counsel was not
28   reimbursed, for example, for millions in expert costs that were critical to their success in that action.
                                                        3
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 1   by thousands of Division I athletes who went to schools that subsequently decided to offer Awards
 2   following the elimination of the NCAA bylaws that unlawfully prohibited them. Hubbard sought to
 3   rectify that.
 4           Class Counsel began investigating this case several months before filing the complaint. These
 5   time-intensive pre-suit efforts to determine the monetary relief that could be obtained for thousands of
 6   athletes across the country included:
 7              Researching whether, and which, NCAA member schools were offering Academic
 8               Achievement Awards, as well the criteria for eligibility for those Awards;

 9              Interviewing college athletes and prospective lead plaintiffs;

10              Reviewing and assessing the Grant-in-Aid class definitions and damages settlement
                 agreement to identify any impact they may have on pursuing this case; and
11
                Retaining the services of experienced consultants to perform a substantial economic
12
                 analysis of anticipated issues in the case, including any individualized issues that would
13               have to be overcome to obtain class certifications.
             This work culminated in Class Counsel filing this action on April 4, 2023. See generally
14
     Compl. Class Counsel has litigated extensively in support of the claims since then.
15
             After Class Counsel filed the Hubbard complaint, the parties participated in four mediation
16
     sessions in spring and summer 2023 to explore the possibility of an early settlement. Declaration of
17
     Steve W. Berman in Support of Plaintiffs’ Motion for Preliminary Settlement Approval (“Berman
18
     Prelim. Settlement Decl.”) (ECF No. 450-2), ¶ 6, House, No. 4:20-cv-03919 CW (N.D. Cal. July 26,
19
     2024). Those discussions were unsuccessful. Thereafter, in October 2023, the Court set a fast-paced
20
     case schedule for Hubbard, with trial set for December 2024—i.e., less than 14 months later. See Oct.
21
     26, 2023 Hr’g Tr. (“Case Mgmt. Conference Tr.”), ECF No. 128, 6:9–11, 20:9–15. The Court further
22
     encouraged the parties to accelerate the class certification process and engage in expedited and
23
     informal discovery to provide Plaintiffs with the information necessary to meet the aggressive
24
     deadlines. Id. 22:2–25, 23:10–18. In line with the Court’s instruction, since November 2023, Class
25
     Counsel devoted significant resources to prosecuting this case against vigorous opposition by
26
     powerful, well-funded defendants who were represented by a half-dozen of the best law firms in the
27
     world. A detailed description of the work performed by each firm seeking fees and reimbursement of
28
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 1   expenses is set forth in the individual Declarations of Class Counsel submitted in support of this
 2   motion.3 Below is a summary of the work performed by Class Counsel.
 3           1.     Class Counsel Obtained Substantial Discovery on Behalf of the Settlement Class
 4           Despite Defendants’ roadblocks along the way, Class Counsel succeeded in obtaining
 5   voluminous data on each school’s Academic Achievement Award criteria and recipients and devoted
 6   substantial resources to evaluating that data for both class certification and merits analysis.
 7                  a.      Written and Document Discovery
 8           In light of the fast-paced case schedule, Class Counsel began propounding significant formal
 9   and informal discovery on Defendants less than one week after the Court’s scheduling order and
10   concluded fact discovery within just six months. This discovery included the production of the
11   hundreds of thousands of documents that had been produced in House and Grant-in-Aid. Stipulation
12   and Protective Order, ECF No. 142, at 2.
13           In addition, Plaintiffs pursued and obtained significant new discovery from Defendants,
14   including multiple rounds of voluminous data—often provided in disparate formats and covering
15   multiple years—on behalf of over 100 NCAA schools concerning their respective Awards policies,
16   procedures and recipients. Stipulated Order, ECF No. 146; Kessler Decl. ¶ 5. When discovery disputes
17   arose, Class Counsel worked swiftly to resolve such disputes. For example, Class Counsel drafted and
18   sent to Defendant Atlantic Coast Conference Rule 30(b)(6) deposition and document subpoenas for
19   third-parties Boston College and Syracuse University, which led to the production of important
20   information from those schools. Kessler Decl. ¶ 6. Class Counsel did the same for third-party
21   University of Virginia, and served those third-party subpoenas to address the Atlantic Coast
22   Conference’s then-deficient document production on behalf of that school.
23           Class Counsel spent over 1,000 hours reviewing and analyzing this extensive data. The
24   importance of the effort to obtain this vital information from the non-party member institutions cannot
25   be understated, given the detailed school-specific data required for Plaintiffs’ damages assessments
26
     3
       See Declaration of Jeffrey L. Kessler in Support of Plaintiffs’ Mot. for Attorneys’ Fees,
27   Reimbursement of Litig. Expenses and Service Awards for Class Representatives (“Kessler Decl.”);
     Declaration of Steve W. Berman in Support of Mot. for Attorneys’ Fees, Reimbursement of Litig.
28   Expenses and Service Awards for Class Representatives (“Berman Final Approval Decl.”).
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 1   and class certification motion. Kessler Decl. ¶¶ 5, 6. Indeed, one of Defendants’ primary attacks
 2   against class certification was the varying nature of the data, arguing that a school-by-school, or even
 3   an athlete-by-athlete, analysis was required to determine damages. Given this attack, it was critical for
 4   Plaintiffs to acquire and scrupulously analyze this comprehensive data, organize and digest the
 5   information, and coordinate with Plaintiffs’ expert to develop a reliable damages model for class-wide
 6   recovery. This information also was central to Plaintiffs’ ability to identify the proposed requirements
 7   for class membership and satisfy the Rule 23 requirements for class certification. See, e.g., Class Cert.
 8   Mot. at 3. To limit costs, Plaintiffs’ counsel relied on in-firm “review” attorneys who specialize in e-
 9   discovery and bill at substantially lower hourly rates than what is commonly charged for document
10   review services. Kessler Decl. ¶ 9.
11                   b.      Depositions
12           The case required extensive fact and expert testimony to support class certification. Because
13   Class Counsel was able to leverage the depositions taken in Grant-in-Aid, however, only four new
14   depositions had to be taken in Hubbard. Specifically, Class Counsel prepared for and defended the
15   depositions of Class Representatives Chuba Hubbard and Keira McCarrell and Plaintiffs’ expert Dr.
16   Daniel Rascher. Kessler Decl. ¶ 12. Class Counsel also prepared for and took the deposition of
17   Defendants’ expert, Dr. Justin McCrary, a highly experienced economist. See Defendants’ Joint
18   Opposition to Plaintiffs’ Motion to Partially Exclude the Opinions, Report, and Testimony of Dr.
19   Justin McRary, ECF No. 183, at 3. The testimony elicited in these depositions was essential to
20   Plaintiffs’ class certification briefing and ultimate success in settling the claims in this case.
21           2.      Class Certification
22           Class Counsel worked tirelessly to analyze the extensive data produced by the schools, perform
23   legal research on class certification issues, including class-wide impact and damages, and work closely
24   with their economic expert, Dr. Rascher, to complete class certification briefing (and accompanying
25   Daubert briefing) and Dr. Rascher’s expert report within just six months of the start of discovery. See
26   Kessler Decl. ¶ 8.
27           Defendants vigorously opposed class certification with their expert, Dr. McCrary. Defendants
28   emphasized in their opposition briefing the purportedly individualized and subjective eligibility
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 1   criteria for providing Academic Achievement Awards, which they asserted differed widely across
 2   institutions and have changed year-to-year. See generally Defendants’ Joint Opposition to Plaintiffs’
 3   Motion for Class Certification, ECF No. 164. Defendants also attacked Plaintiffs’ class-wide damages
 4   model and Dr. Rascher’s before-and-after approach. The class certification briefing included not only
 5   the motion for class certification, an opposition, and a reply, but also Daubert motions by both sides.
 6          As noted above, the experts on both sides were deposed. And Class Counsel spent significant
 7   time preparing for the class certification and Daubert motions hearings. The settlement was reached
 8   while Plaintiffs’ class certification motion remained pending.
 9          3.      Summary Judgment
10          To meet the demands of the Court’s accelerated schedule in this case, which set the deadline
11   for summary judgment for July 12, 2024, Class Counsel had to spend significant time on their
12   summary judgment briefing while the class certification work was also ongoing.
13          The Court recognized at the parties’ Case Management Conference that the liability issues in
14   the case might be resolved at summary judgment if Plaintiffs could prove that Defendants’ defenses
15   were precluded by collateral estoppel. See Case Mgmt. Conference Tr. 6:12–18. Class Counsel did
16   extensive work preparing an affirmative summary judgment motion on these liability issues, in which
17   they spent significant time conducting legal and factual research to support their planned filing.
18   Kessler Decl. ¶ 11; see also Class Cert. Mot. at 22. Defendants indicated they would vehemently
19   oppose any summary judgment motion filed by Plaintiffs. See Case Mgmt. Conference Tr. 29:4.
20   B.     The Hubbard Settlement
21          The extensive efforts that went into Plaintiffs’ settlement negotiations of Hubbard and the
22   related House and Carter litigations are described in detail in Plaintiffs’ motions for preliminary
23   approval of the settlements, and the supporting declarations. See Plaintiffs’ Unopposed Motion for
24   Preliminary Approval of Class Settlement (“Prelim. Settlement Approval Mot.”), ECF No. 227, at 2–
25   3, 7–8; Declaration of Jeffrey L. Kessler in Support of Plaintiffs’ Unopposed Motion for Preliminary
26   Settlement Approval, ECF No. 227-2, ¶ 7; Berman Prelim. Settlement Decl. ¶¶ 4, 6. As set forth
27   therein, the parties negotiated resolution of the claims during several in-person and telephonic
28   mediation sessions conducted by renowned mediator Professor Eric D. Green, who has significant
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 1   experience mediating disputes involving challenges to the NCAA’s compensation rules. Settlement
 2   negotiations stretched over a year-and-a-half—from the fall of 2022 to spring 2024—and were
 3   carefully structured based on the different claims and classes involved. See Berman Prelim. Settlement
 4   Decl. ¶¶ 4, 6.
 5          The settlement discussions were sequenced and compartmentalized to address injunctive relief
 6   resolving the House (NIL) and Carter (pay-for-play) claims first, and then to negotiate separately for
 7   each of the three sets of damages claims (House, Carter and Hubbard). Id. ¶¶ 8, 9. Plaintiffs made a
 8   settlement demand, and conducted negotiations, separately with respect to the claims in Hubbard,
 9   factoring in Dr. Rascher’s damages estimates, the procedural posture of the case, and the litigation
10   risks of the case. Id. ¶ 8. Jeffrey Kessler, Steve Berman and David Greenspan were personally involved
11   in all of the formal and informal settlement negotiations, with many additional Winston and Hagens
12   Berman attorneys also working on potential agreements. Kessler Decl. ¶ 13. They worked extensively
13   with Dr. Rascher to develop the Hubbard settlement strategy and the damages that were negotiated.
14          Ultimately, Class Counsel was able to negotiate a $200 million common-fund settlement in
15   Hubbard—which amounts to nearly two-thirds of the single damages in this case. See Preliminary
16   Settlement Declaration of Daniel Rascher (“Rascher Decl.”), ECF No. 227-5, ¶ 9. The settlement
17   allows eligible collegiate athletes who competed on a Division I athletic team at any time between
18   April 1, 2019 and September 15, 2024, and who would have earned Academic Achievement Awards
19   absent Defendants’ rules prohibiting them, to receive payments.
20          On July 26, 2024, Plaintiffs moved for preliminary approval of the Hubbard settlement and to
21   direct notice to the Settlement Class. See Prelim. Settlement Approval Mot. After objections, briefing
22   and a hearing, Class Counsel submitted additional briefing. See ECF Nos. 236–37, 239, 242, 243. On
23   October 7, 2024, the Court preliminarily approved the terms of the Hubbard and House/Carter
24   Settlements. See Order Granting Plaintiffs’ Motion for Preliminary Settlement Approval as Modified,
25   ECF No. 244.
26

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 1                                           II.     ARGUMENT
 2          Class Counsel seek an award of $40 million in attorneys’ fees, reflecting 20 percent of the

 3   $200 million common Settlement Fund, to be paid out over the same ten-year period in which class

 4   members will receive payments. As with the award of attorneys’ fees in any class action settlement,

 5   the Court must “assume the role of fiduciary for the class plaintiffs,” so “[r]ubber-stamp approval,

 6   even in the absence of objections, is improper.” Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1052 (9th

 7   Cir. 2002) (internal citation omitted). The Court’s scrutiny is welcome here. Class Counsel’s requested

 8   fee falls below the 25% benchmark in the Ninth Circuit and is consistent with fee percentages courts

 9   across the circuits have approved in other megafund cases. See Fischel v. Equitable Life Assur. Soc’y

10   of the United States, 307 F.3d 997, 1006 (9th Cir. 2002) (citation omitted) (“We have established a 25

11   percent ‘benchmark’ in percentage-of-the-fund cases that can be ‘adjusted upward or downward to

12   account for any unusual circumstances involved in [the] case.’”); In re Facebook, Inc., 2023 WL

13   8445812, at *2 (awarding 25% of a $725 million fund); Benson, 2023 WL 3761929, at *1–3 (awarding

14   almost 29.3% of $415 million settlement fund); Grant-in-Aid, 2017 WL 6040065, at *2 (noting that

15   “of the 19 antitrust settlements between 2009 and 2013, with a mean recovery of $501.09 million and

16   a median recovery of $37.3 million, the mean and median fee percentages were 27% and 30%”);

17   Andrews v. Plains All American Pipeline L.P., 2022 WL 4453864, at *4 (C.D. Cal. Sept. 20, 2022)

18   (approving 32% fee award of $230 million settlement); In re TFT-LCD (Flat Panel) Antitrust Litig.,

19   2011 WL 7575003, at *1–2 (N.D. Cal. Dec. 27, 2011) (approving 30% fee award of $405.02 million

20   settlement); In re Syngenta AG MIR 162 Corn Litig., 357 F. Supp. 3d 1094, 1116 (D. Kan. 2018), aff’d

21   2023 WL 2262878 (10th Cir. Feb. 28, 2023) (awarding a 33.333% fee award in a $1.41 billion

22   settlement).

23          Class Counsel’s requested fee is justified and reasonable in light of the results achieved for the

24   class, the high degree of risk born by Class Counsel, and the significant efforts expended by Class

25   Counsel in this litigation on the Court’s expedited timeline (as well as all the efforts by Class Counsel

26   over the last decade in the broader litigation campaign against the NCAA’s compensations restraints).

27   In addition, Class Counsel’s expenses were necessary to prosecute this case and should be fully

28   reimbursed. Finally, the Court should grant $50,000 incentive awards for each of the two Class
                                                        9
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 1   Representatives in Hubbard in recognition for their services to the class and the substantial risks they
 2   bore in participating in this high-profile litigation on behalf of all class members.
 3   A.      The Court Should Award Class Counsel 20% of the $200 Million Common Settlement
             Fund
 4
             In the Ninth Circuit, district courts may use either the “percentage-of-the-fund” or “lodestar”
 5
     method to calculate reasonable attorneys’ fees. See, e.g., In re Hyundai & Kia Fuel Economy Litig.,
 6
     926 F.3d 539, 570 (9th Cir. 2019) (en banc) (“No presumption in favor of either the percentage or the
 7
     lodestar method encumbers the district court’s discretion to choose one or the other.”) (internal citation
 8
     omitted); In re Optical Disk Drive, 959 F.3d at 929 (“District courts have discretion to choose which
 9
     method they use to calculate fees, but their discretion must be exercised to reach a reasonable result.”).
10
     Where, as here, the settlement includes a cash recovery or common fund, the percentage-of-the-fund
11
     methodology is “preferred,” including in megafund cases like this one. In re Capacitors Antitrust
12
     Litig., 2018 WL 4790575, at *2 (N.D. Cal. Sept. 21, 2018); In re Anthem, Inc. Data Breach Litig.,
13
     2018 WL 3960068, at *5 (N.D. Cal. Aug. 17, 2018) (“[The percentage approach] has been applied in
14
     megafund cases like the one here.”).4 Whatever method is used, the ultimate question is whether “the
15
     [fee] award, like the settlement itself, is reasonable.” In re Online DVD-Rental Antitrust Litig., 779
16
     F.3d 934, 949 (9th Cir. 2015).
17
             Professor Brian T. Fitzpatrick, a renowned class action expert, opines in his accompanying
18
     declaration that the percentage-of-the-fund is the appropriate method to calculate the award in this
19
     case. See Fitzpatrick Decl. ¶¶ 14–16. He explains that, among other things, the lodestar method has
20
     fallen out of favor with courts across the country because “it did not align the interests of counsel with
21
     the interests of their clients—to wit, counsel’s recovery did not depend on how much as recovered,
22
     but rather on how many hours could be spent on the case.” Id. ¶ 14. The percentage-of-the-fund
23
     approach has become the dominant methodology “precisely because it corrected the deficiencies of
24

25   4
       See also In re Korean Air Lines Co., Antitrust Litig., 2013 WL 7985367, at *1 (C.D. Cal. Dec. 23,
     2013) (“The use of the percentage-of-the-fund method in common-fund cases is the prevailing practice
26   in the Ninth Circuit for awarding attorneys’ fees and permits the Court to focus on a showing that a
     fund conferring benefits on a class was created through the efforts of plaintiffs’ counsel.”); see also
27   Bellinghausen v. Tractor Supply Co., 306 F.R.D. 245, 260 (N.D. Cal. 2015) (“Because this case
     involves a common settlement fund with an easily quantifiable benefit to the class, the Court will
28   primarily determine attorneys’ fees using the benchmark method.”).
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 1   the lodestar method: it is less cumbersome to calculate, and, more importantly, it aligns the interests
 2   of counsel with the interests of their clients because the greater the recovery, the more counsel
 3   receives.” See id. ¶ 15. Using the percentage-of-the-fund method in this case is also in accord with the
 4   consensus opinion of class action scholars. Id. ¶ 16 (quoting American Law Institute, Principles of the
 5   Law of Aggregate Litigation § 3.13(b) (2010) for the proposition that “a percentage-of-the-fund
 6   approach should be the method utilized in most common-fund cases”).
 7          The Ninth Circuit has laid out several factors courts may consider when assessing requests for
 8   attorneys’ fees calculated pursuant to the percentage-of-recovery method: (1) the extent to which class
 9   counsel achieved exceptional results for the class; (2) whether the case was risky for class counsel; (3)
10   whether counsel’s performance generated benefits beyond the cash settlement fund; (4) the market
11   rate for the particular field of law; (5) the burdens class counsel experienced while litigating the case;
12   and (6) whether the case was handled on a contingency basis. See In re Optical Disk Drive, 959 F.3d
13   at 930 (citing Vizcaino, 290 F.3d at 1048–50). In megafund cases, the Ninth Circuit also considers the
14   size of the settlement fund as “one relevant circumstance to which courts must refer” when
15   determining the reasonableness of a fee award. Vizcaino, 290 F.3d at 1047. Finally, courts may take
16   into account class counsel’s efforts across multiple related cases where they are all part of a broader
17   litigation campaign. See Benson, 2023 WL 3761929, at *2.
18          The Court should focus its analysis on the factors relevant to the unique circumstances present
19   here, which demonstrate that a 20 percent fee award is reasonable and justified. See, e.g., Farrell, 827
20   F. App’x at 630 (“The district court considered the most pertinent factors influencing reasonableness,
21   and it did not err in finding the fee award reasonable.”) (internal quotations omitted); Amador v. Baca,
22   2020 WL 5628938, at *9 (C.D. Cal. Aug. 11, 2020) (“The Court will generally apply these factors in
23   a manner which it believes effectively addresses the relevant circumstances in this class settlement
24   and litigation.”). Moreover, for the reasons explained above, as well as those discussed in further detail
25   in Section III.A.7 infra, the lodestar methodology is not the desired method under these facts for
26   determining whether counsel’s fee request is reasonable and thus should not be used as a crosscheck
27   or otherwise. But even if the Court were to apply the lodestar methodology as a “crosscheck,” that
28   analysis confirms the reasonableness of the fee request.
                                                        11
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 1           1.      Class Counsel Obtained Unprecedented Results
 2           When determining an award of attorneys’ fees in a class action, “the most important factor is

 3   the results achieved for the class.” Grant-in-Aid, 2017 WL 6040065, at *3; Lowery v. Rhapsody Int’l,

 4   Inc., 75 F.4th 985, 988 (9th Cir. 2023) (“The touchstone for determining the reasonableness of

 5   attorneys’ fees in a class action is the benefit to the class.”); In re Omnivision Techs., Inc., 559 F. Supp.

 6   2d 1036, 1046 (N.D. Cal. 2008) (“The overall result and benefit to the class from the litigation is the

 7   most critical factor in granting a fee award.”); see also Hensley v. Eckerhart, 461 U.S. 424, 436 (1983)

 8   (noting that “the most critical factor” in determining the reasonableness of an attorneys’ fees request

 9   is “the degree of success obtained”). Typically, courts “aim to tether the value of an attorneys’ fees

10   award to the value of the class recovery.” In re HP Inkjet Printer Litig., 716 F.3d 1173, 1178 (9th Cir.

11   2013). In a common fund case in which class counsel seek an award as a percentage of the fund, “this

12   task is fairly effortless. The district court can assess the relative value of the attorneys’ fees and the

13   class relief simply by comparing the amount of cash paid to the attorneys with the amount of cash paid

14   to the class. The more valuable the class recovery, the greater the fees award.” Id.

15           Here, the results achieved are exceptional. Class Counsel achieved an outstanding outcome for

16   the thousands of current and former student-athletes who comprise the class, obtaining nearly two-

17   thirds of the estimated actual damages (see Rascher Decl. ¶ 9)—far beyond many other approved

18   recoveries in antitrust class actions. See Fitzpatrick Decl. ¶ 33 (“Even in a run of the mill antitrust

19   class action case, these recoveries would be exceptional.”); see also In re: Cathode Ray Tube (CRT)

20   Antitrust Litig., 2016 WL 3648478, at *7 & n.19 (N.D. Cal. July 7, 2016) (approving settlement

21   representing 20% of actual damages and citing a survey of 71 settled antitrust cases which showed a

22   weighted mean recovery of 19% of actual damages); In re Lithium Ion Batteries Antitrust Litig., 2020

23   WL 7264559, at *20 (N.D. Cal. Dec. 10, 2020) (describing a recovery of 11.7% of actual damages as

24   an “excellent” result and awarding class counsel just under 30% of the settlement fund); Sullivan v.

25   DB Invs., Inc., 667 F.3d 273, 324 (3d Cir. 2011) (affirming approval of antitrust settlement providing

26   recovery of 12.5% of actual damages for one settlement class and 22.5% for another).

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 1          2.      Class Counsel’s Efforts Generated Non-Monetary Benefits for the Class
 2          While the monetary component of this settlement is the primary relief made available to the

 3   Settlement Class, the Court should consider that this class action, in combination with the Supreme

 4   Court victory in Alston and Class Counsel’s broader litigation campaign in House and Carter, has

 5   required Defendants to eliminate their anticompetitive compensation rules, including their decades

 6   long prohibition on direct cash payments to college athletes, and fundamentally reformed college

 7   sports into a more equitable system for the athletes. See Fitzpatrick Decl. ¶¶ 6–9. These cases are all

 8   interrelated as part of the broader campaign by Class Counsel challenging the NCAA’s compensation

 9   restraints. In any event, as Professor Fitzpatrick notes, only a minority of class action settlements

10   include non-monetary benefits, so the fact that the Hubbard settlement is limited to a damages class

11   should not weigh against the fee award. See id. ¶ 39 (citing Brian T. Fitzpatrick, An Empirical Study

12   of Class Action Settlements and Their Fee Awards, 7 J. EMPIRICAL L. STUD. 811, 824 (2010) (finding

13   only 25% of settlements with non-monetary relief)).

14          3.      Pursuing This Litigation on a Contingency Basis Was Risky, Especially Given
                    the Legal Challenges to Class Certification
15
            In determining the appropriateness of a fee award, the next step is to consider the risk. That is,
16
     the amount of the fee depends in part on whether, and to what degree, “class counsel ran the risk of
17
     not being paid at all.” Steiner v. Am. Broad. Co., 248 F. App’x 780, 782 n.2 (9th Cir. 2007). Here,
18
     counsel worked entirely on a contingency basis. “Courts have long recognized that the public interest
19
     is served by rewarding attorneys who assume representation on a contingent basis with an enhanced
20
     fee to compensate them for the risk that they might be paid nothing at all for their work.” Ching v.
21
     Siemens Indus., 2014 WL 2926210, at *8 (N.D. Cal. June 27, 2014) (emphasis added); see also Grant-
22
     in-Aid, 2017 WL 6040065, at *4 (attorneys who take on the risk of a contingency case should be
23
     compensated for the risk they assume); Benson, 2023 WL 3761929, at *2 (finding that the “litigation
24
     was extremely risky” where class counsel “worked entirely on contingency”).
25
            “Antitrust cases are particularly risky, challenging, and widely acknowledge[d] to be among
26
     the most complex actions to prosecute.” In re Lithium Ion Batteries, 2020 WL 7264559, at *15; see
27
     also In re Linerboard Antitrust Litig., 2004 WL 1221350, at *10 (E.D. Pa. June 2, 2004) (the “antitrust
28
                                                       13
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 1   class action is arguably the most complex action to prosecute”) (quoting In re Motorsports Merch.
 2   Antitrust Litig., 112 F. Supp. 2d 1329, 1337 (N.D. Ga. 2000)); In re Auto. Refinishing Paint Antitrust
 3   Litig., 617 F. Supp. 2d 336, 341 (E.D. Pa. 2007) (“[A]ntitrust class action is arguably the most complex
 4   action to prosecute. The legal and factual issues involved are always numerous and uncertain in
 5   outcome.”) (internal citation omitted). “The ‘best’ case can be lost and the ‘worst’ case can be won,
 6   and juries may find liability but no damages. None of these risks should be underestimated.” In re
 7   Lithium Ion Batteries, 2020 WL 7264559, at *15 (quoting In re Super. Beverage/Glass Container
 8   Consol. Pretrial, 133 F.R.D. 119, 127 (N.D. Ill. 1990)); see also Wal-Mart Stores v. Visa U.S.A., Inc.,
 9   396 F.3d 96, 118 (2d Cir. 2005) (“Indeed, the history of antitrust litigation is replete with cases in
10   which antitrust plaintiffs succeeded at trial on liability, but recovered no damages, or only negligible
11   damages, at trial, or on appeal.”) (quoting In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D.
12   465, 475 (S.D.N.Y. 1998)).
13           Even in light of the precedent from Alston, this litigation was challenging and risky, given the
14   class composition and purportedly individualized proof issues that threatened class certification.
15   Defendants argued that the 75 schools at issue implemented Academic Achievement Awards in highly
16   varied and diverse ways, which Defendants claimed presented individualized issues to impede class
17   certification. Class Counsel had to spend enormous efforts compiling and analyzing data and working
18   with their expert to come up with a reasonable class-wide damages methodology to fend off these
19   objections. While Class Counsel rebutted Defendants’ arguments in their reply briefing in support of
20   class certification, there was a risk that the class would not be certified—or would be substantially
21   narrowed—as a result of Defendants’ challenges. Moreover, Defendants made it clear they planned to
22   challenge Class Counsel’s collateral estoppel arguments as to liability, which, if successful, would
23   have required the parties to re-litigate liability issues before a jury at trial.
24           In addition, the “bet-the-company” nature of Plaintiffs’ challenges to Defendants’
25   compensation rules meant that Plaintiffs had to litigate against six well-resourced Defendants, and
26   their high-powered law firms who fought every issue tooth and nail. See Benson, 2023 WL 3761929,
27   at *2 (finding that prosecuting a line of several class actions against well-funded corporations
28   constituted a risk warranting an above-benchmark fee award).
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 1           Finally, since the inception of Class Counsel’s litigation campaign, Defendants and their
 2   members have aggressively lobbied Congress for legislation that could grant them an antitrust
 3   exemption and/or end Hubbard and the other cases. Thus, not only did Class Counsel face the
 4   significant risks attendant with most putative antitrust class actions, Class Counsel was also confronted
 5   with the perpetual threat that it could come away with nothing because of legislative intrusion.
 6           4.      Class Counsel Experienced Significant Burdens While Litigating the Case
 7           For the same reasons this case carried very high risk, it also imposed significant “burdens on
 8   class counsel while litigating the case.” In re Optical Disk Drive, 959 F.3d at 930; Vizcaino, 290 F.3d
 9   at 1050. Relevant burdens included proceeding with the representation on a contingency basis. Benson,
10   2023 WL 3761929, at *2. Moreover, Class Counsel had to work to meet the Court’s fast-paced case

11   schedule. With trial scheduled for December 2024, full briefing on class certification was
12   accomplished in less than six months. Kessler Decl. ¶ 8. And at the time of settlement, Class Counsel
13   had undergone substantial preparation to file a summary judgment motion on the issue of Defendants’
14   liability, which included carefully reviewing the Grant-in-Aid record to ensure Plaintiffs could make
15   a collateral estoppel argument. Class Counsel engaged in these endeavors all while aggressively
16   pursuing the related House and Carter cases against Defendants as part of the years-long broader
17   litigation campaign challenging Defendants anticompetitive rules. See Benson, 2023 WL 3761929, at
18   *2 (citing work on related matters as a relevant burden).
19           5.      The Market Supports the Requested Fee
20           Although the Ninth Circuit has not adopted the full market-mimicking approach of other
21   circuits, “the market rate for the particular field of law” is still an important consideration. In re Optical
22   Disk Drive, 959 F.3d at 930. Here, a market-based analysis supports the reasonableness of both the
23   percentage method to calculate the fee and the specific percentage Class Counsel requests.
24           The market for high-stakes, high-value, plaintiff’s-side litigators is driven by a percentage-of-
25   the-recovery model, with sophisticated clients typically incentivizing their lawyers by agreeing to a
26   fixed percentage of between 30% and 40% of the recovery. See Jenson v. First Tr. Corp., 2008 WL
27   11338161, at *13 n.15 (C.D. Cal. June 9, 2008) (“If this were non-representative litigation, the
28   customary fee arrangement would likely be contingent, on a percentage basis, and in the range of 30%
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 1   to 40% of the recovery.”); In re M.D.C. Holdings Sec. Litig., 1990 WL 454747, at *7 (S.D. Cal. Aug.
 2   30, 1990) (“In private contingent litigation, fee contracts have traditionally ranged between 30% and
 3   40% of the total recovery.”); George v. Acad. Mortg. Corp. (UT), 369 F. Supp. 3d 1356, 1382 (N.D.
 4   Ga. 2019) (“Plaintiffs request for approval of Class Counsel’s 33% fee falls within the range of the
 5   private marketplace, where contingency-fee arrangements are often between 30 and 40 percent of any
 6   recovery”). As Professor Fitzpatrick notes, “[i]t is well known that standard contingency-fee
 7   percentages in individual litigation are one-third or greater.” Fitzpatrick Decl. ¶ 40. The fee request
 8   here is well below such numbers.
 9          Comparison to judicially approved fees can also be useful and supports the reasonableness of
10   the percentage fee requested. See Fitzpatrick Decl. ¶¶ 26–32 (explaining why the 20% fee request here
11   is consistent with the typical percentages awarded nationwide and in the Ninth Circuit). Class
12   Counsel’s requested fee award falls below the 25% benchmark in the Ninth Circuit and is consistent
13   with fee percentages courts across the circuits have approved in dozens of other megafund cases. See
14   e.g., In re Facebook, Inc., 2023 WL 8445812, at *2 (awarding 25% of a $725 million fund); Benson,
15   2023 WL 3761929, at *1–3 (awarding almost 29.3% of $415 million settlement fund); Grant-in-Aid,
16   2017 WL 6040065, at *2 (noting that “of the 19 antitrust settlements between 2009 and 2013, with a
17   mean recovery of $501.09 million and a median recovery of $37.3 million, the mean and median fee
18   percentages were 27% and 30%”); Andrews, 2022 WL 4453864, at *4 (approving 32% fee award of
19   $230 million settlement); In re TFT-LCD, 2011 WL 7575003 (approving 30% fee award of $405.02
20   million settlement); In re Syngenta AG MIR 162 Corn, 357 F. Supp. 3d at 1115 (awarding a 33.333%
21   fee award in a $1.41 billion settlement); Carpenters Health & Welfare Fund v. Coca-Cola Co., 587 F.
22   Supp. 2d 1266, 1271 (N.D. Ga. 2008) (finding attorneys’ fees request of 21% of the $137.5 million
23   settlement fund or $28,875,000 in attorney’s fees reasonable) (securities class action); In re Initial
24   Public Offering Sec. Litig., 671 F. Supp. 2d 467, 516 (S.D.N.Y. 2009) (approving 1/3 (33.3%)
25   attorneys’ fees request or $170,084,950 from net settlement of $586 million for class counsel in
26   consolidated securities class action); In re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330,
27   1358 (S.D. Fla. 2011) (approving class counsels’ 30% fees request of a $410 million common fund
28   settlement).
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 1           In sum, Class Counsel’s request for a 20 percent fee award is consistent with the private market
 2   rate and other judicially approved settlements, even in megafund cases.
 3           6.      The Size of the Settlement Fund Does Not Justify a Reduction of the Fee Award
                     Percentage
 4
             Additionally, as case law indicates, and Professor Fitzpatrick explains, the size of the
 5
     settlement here does not warrant a lower percentage award. See Fitzpatrick Decl. ¶¶ 27–30. The Ninth
 6
     Circuit has “declined to adopt a bright-line rule” in megafund cases (In re Optical Disk Drive, 959
 7
     F.3d at 933) “requiring [the reduction or] the use of sliding-scale fee awards for class counsel” and
 8
     “rejected the position that fee percentages must invariably fall as settlement amounts rise,” (In re
 9
     Facebook, Inc., 2023 WL 8445812, at *2), recognizing the size of the settlement fund as only “one
10
     relevant circumstance to which courts must refer” when determining the reasonableness of a fee
11
     award. Vizcaino, 290 F.3d at 1047. The logic behind this consideration is set forth in In re Optical
12
     Disk Drive, where the Court noted that “in many instances the increase in recovery is merely a factor
13
     of the size of the class and has no direct relationship to the efforts of counsel,” and cited other circuits’
14
     observation that “economies of scale could cause windfalls in common fund cases.” 959 F.3d at 933;
15
     but see Alba Conte, Herbert B. Newberg, William Rubenstein, Newberg and Rubenstein on Class
16
     Actions § 15:81 (6th ed. 2022) (criticizing this approach because “the ‘mega-fund’ concept is a crude
17
     proxy for windfall as it may prove both under- and over-inclusive.”).
18
             The windfall concern expressed in In re Optical Disk Drive does not apply here, where the size
19
     of the recovery is plainly not “merely a factor of the size of the class.” As discussed above and further
20
     in the Fitzpatrick Declaration, Class Counsel obtained a settlement that is well above the weighted
21
     mean percentages of single damages in other antitrust class actions—and courts in the Ninth Circuit
22
     have justified departures upwards from the 25% benchmark based on percentage recoveries far inferior
23
     to what Class Counsel obtained here. The fantastic results Class Counsel achieved in this case despite
24
     the risks to certification confirm that the requested fee award, while certainly significant, is not fairly
25
     characterized as a windfall and is thus not a reason to reduce the fees awarded. See Benson, 2023 WL
26
     3761929, at *3 (citing In re Optical Disk Drive, 959 F.3d at 933 and holding that awarding 29.3% of
27
     a $415 million megafund was appropriate because “the size of the settlement fund is the result of Class
28
                                                          17
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 1   Counsel’s exceptional efforts, not merely the size of the class” and “Class Counsel’s requested fee
 2   award is well-earned and would not constitute an unjustified windfall”).
 3          Moreover, as the district court in Benson held, the size of the settlement fund must be weighed
 4   among all the other reasonableness factors and when those factors support the percentage requested,
 5   the size of the fund alone does not justify reducing the award. 2023 WL 3761929, at *2. Several
 6   decisions in the Ninth Circuit and elsewhere have reached the same conclusion. See, e.g., Andrews,
 7   2022 WL 4453864, at *4 (C.D. Cal. Sept. 20, 2022) (approving 32% fee award of $230 million
 8   settlement); In re: Cathode Ray Tube (CRT), 2016 WL 183285, at *2 (N.D. Cal. Jan. 14, 2016)
 9   (approving 30% fee award of $127.45 million settlement); In re TFT-LCD, 2011 WL 7575003, at *2
10   (approving 30% fee award of $405.02 million settlement); cf. Reyes v. Experian Info. Sols., Inc., 856
11   F. App’x 108, 110–11 (9th Cir. 2021) (finding error where district court relied on large settlement
12   number ($25 million) to find that benchmark fee would be a windfall, without looking to circumstances
13   of case); In re Syngenta AG MIR 162 Corn, 357 F. Supp. 3d at 1115 (awarding a 33.33% fee award in
14   a $1.51 billion settlement after considering size of settlement and factors such as novelty and difficulty
15   of the litigation, the results obtained, the absence of piggy-backing on a government investigation, and
16   burden on class counsel).
17          7.      A Lodestar Cross-check Is Not Warranted Under the Circumstances of This
                    Case
18
            Class Counsel submits that consideration of a lodestar in this case would not accurately account
19
     for the efforts Class Counsel contributed and the risks Class Counsel took toward the settlement it
20
     obtained for the class, would not be relevant to preventing a windfall, and would create perverse
21
     incentives for future class actions with regard to efficiency. For these reasons, the Court should not—
22
     and need not—conduct a lodestar cross-check.
23
            The lodestar cross-check is not required in the Ninth Circuit. See, e.g., Farrell, 827 F. App’x
24
     at 630 (“This Court has consistently refused to adopt a crosscheck requirement, and we do so once
25
     more.”); Craft v. Cnty. of San Bernardino, 624 F. Supp. 2d 1113, 1122 (C.D. Cal. 2008) (quoting
26
     Glass v. UBS Fin. Servs., Inc., 2007 WL 221862, at *5, 16 (N.D. Cal. 2007)) (no lodestar cross-check
27
     conducted in an early settlement of the case, although 8 class members (out of 13,176) and the New
28
                                                        18
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 1   York attorney general objected to the settlement). Rather, a district court may appropriately determine
 2   that the circumstances of a given case warrant a certain percentage of the settlement fund without
 3   considering class counsel’s lodestar. Farrell, 827 F. App’x at 630; Benson, 2023 WL 3761929, at *3
 4   (declining to conduct a lodestar cross-check given the circumstances presented by that litigation);
 5   Andrews, 2022 WL 4453864, at *2 (declining to conduct a lodestar cross-check “[d]ue to the
 6   exceptional circumstances of this case” and the Court’s extensive involvement in supervising the
 7   litigation). Courts routinely forego any lodestar crosscheck. Fitzpatrick Decl. ¶ 41 (noting that “only
 8   a minority of courts nationwide perform the crosscheck with the percentage method”); see also
 9   Williams v. Rohm & Haas Pension Plan, 658 F.3d 629, 636 (7th Cir. 2011) (holding that “a lodestar
10   check is not . . . required methodology” because “[t]he . . . argument . . . that any percentage fee award
11   exceeding a certain lodestar multiplier is excessive . . . echoes the ‘megafund’ cap we rejected in
12   Synthroid”).
13          The unique circumstances here render a lodestar cross-check particularly unwarranted. First,
14   this case is a continuation of the Alston litigation, and the settlement followed litigation of several
15   interrelated cases that were part of a broader years-long litigation campaign challenging Defendants’
16   compensation rules. See Fitzpatrick Decl. ¶¶ 6–12, 49, 53. In such situations, it is often difficult to
17   attribute a lodestar to just one specific case, rendering application of a lodestar cross-check
18   insufficient. See, e.g., Thomas v. Dun & Bradstreet Credibility Corp., 2017 WL 11633508, at *22
19   (C.D. Cal. Mar. 22, 2017) (“Courts have compensated class counsel for work performed in prior,
20   related case where the work performed advanced [the instant] class action.”) (alteration in original)
21   (internal quotations omitted).
22          Second, the Ninth Circuit has excused application of the cross-check in situations, like this
23   one, in which counsel achieved a meaningful settlement quickly. See, e.g., Rankin v. Am. Greetings,
24   Inc., 2011 WL 13239039, at *2 (E.D. Cal. July 6, 2011) (“[I]n accordance with Ninth Circuit
25   precedents, district courts within the Ninth Circuit have recognized that a lodestar cross check need
26   not be performed where plaintiff's counsel achieves a significant result through an early settlement.”);
27   see also Glass, 2007 WL 221862, at *15 (N.D. Cal. Jan. 26, 2007) (where class counsel “achieved an
28   excellent result for the class members by settling the instant action promptly,” lodestar cross-check
                                                        19
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 1   was not used). The settlement in Hubbard was achieved in less than two years in large part because
 2   Class Counsel was building on work done in previous cases. To penalize this strong early result would
 3   encourage counsel to rack up lodestar work before settlement, which is contrary to policy goals
 4   encouraged by relying on the percentage of the fund method.
 5          In any event, even if the Court chooses to perform a lodestar crosscheck of the $40 million in
 6   fees requested, that crosscheck would confirm that the fee request is reasonable. When courts do a
 7   lodestar crosscheck to assess a fee award, one of the factors considered is awards in similar cases. See
 8   In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 941–42 (9th Cir. 2011). If the Court were to
 9   only include the lodestar from Hubbard of $4,793,070.00, the resulting lodestar multiplier in this case
10   is 8.35. Professor Fitzpatrick explains that while multipliers in the largest settlements average less than
11   4, the lodestar multiplier here is “hardly unprecedented.” See Fitzpatrick Decl. ¶¶ 46, 53; see also
12   Vizcaino, 290 F.3d at 1051 n.6 (noting multipliers of up to 19.6). But, as Professor Fitzpatrick explains,
13   it is largely arbitrary to draw the line for the lodestar crosscheck at Class Counsel’s time sheets in
14   Hubbard. Fitzpatrick Decl. ¶¶ 47, 52. All of these settlements are continuations of Class Counsel’s
15   victory in Alston and much of the discovery there was used here. If the Court examines Class Counsel’s
16   time (and fees) since Alston for any lodestar crosscheck here, the applicable multipliers would be
17   below 6. Fitzpatrick Decl. ¶¶ 47, 53. Other courts have taken this approach with interrelated litigation
18   that unfolded over time, such as in the multi-billion-dollar PFAS litigation before Judge Gergel. See
19   In re: Aqueous Film-Forming Foams Prod. Liab. Litig., 2024 WL 4868615, at *5 (D.S.C. Nov. 22,
20   2024) (using “[t]he lodestar for the total cumulative work performed by Class Counsel . . . from the
21   DuPont, 3M, Tyco, and BASF actions” for the crosscheck).
22   B.     Class Counsel’s Expenses Are Reasonable and Were Necessarily Incurred
23          Counsel who have created a common fund for the benefit of a class are also entitled to be
24   reimbursed for out-of-pocket expenses reasonably incurred in obtaining the settlement. Hartless v.
25   Clorox Co., 273 F.R.D. 630, 646 (S.D. Cal. 2011), aff’d in part, 473 F. App’x 716 (9th Cir. 2012);
26   see, e.g., In re Capacitors, 2018 WL 4790575, at *6. As the Ninth Circuit has recognized, “litigation
27   expenses make the entire action possible.” In re Online DVD-Rental, 779 F.3d at 953.
28          Here, Class Counsel’s unreimbursed expenses of $338,632.44 were reasonably incurred and
                                                         20
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 1   necessary for the litigation of the case. Berman Final Approval Decl. ¶¶ 9, 12; Kessler Decl. ¶¶ 29,
 2   30, 32. In support of their reimbursement request, Class Counsel provide an accounting of the expenses
 3   they incurred. See Kessler Decl., Ex. C; Berman Final Approval Decl., Ex. D. Several categories of
 4   expenses are responsible for the overall spend, including fees paid or incurred to experts, online
 5   document repositories, and travel in connection with the litigation. See Kessler Decl. ¶ 29; Berman
 6   Final Approval Decl., Ex. D. Class Counsel advanced these necessary expenses, interest-free, without
 7   assurance that they would be recouped. See Kessler Decl. ¶ 29; Berman Final Approval Decl., Ex. D.
 8   This action could not have been litigated, much less to a successful resolution, without these critical
 9   expenditures. See Kessler Decl. ¶ 29; Berman Final Approval Decl., Ex. D. Class Counsel respectfully
10   request that they be reimbursed in full.
11   C.     Service Awards Should be Granted to the Class Representatives
12          Finally, Class Counsel also request that the Court approve service awards for the Hubbard
13   Class Representatives. In recognition of their extensive contributions and commitments, Plaintiffs
14   request awards of $50,000 each for Chuba Hubbard and Keira McCarrell.
15          “Incentive awards are fairly typical in class action cases [to] . . . compensate class
16   representatives for work done on behalf of the class, to make up for financial or reputational risk
17   undertaken in bringing the action, and, sometimes, to recognize their willingness to act as a private
18   attorney general.” Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 958–59 (9th Cir. 2009); see also In re
19   Apple Inc. Device Performance Litig., 50 F.4th 769, 786-87 (9th Cir. Sept. 28, 2022) (confirming that
20   reasonable incentive awards may be awarded). Courts have discretion to approve such awards based
21   on, inter alia, the financial or reputational risks undertaken in bringing the action, the notoriety and
22   personal difficulties encountered, the amount of time and effort spent, the duration of the litigation,
23   and the degree to which the class has benefitted from their actions. Staton v. Boeing Co., 327 F.3d
24   938, 977 (9th Cir. 2003).
25          Here, both Class Representatives have been actively involved in this case from its inception.
26   Hubbard and McCarrell expended a substantial amount of time and effort over the past two years
27   assisting Class Counsel with the prosecution of their claims, including by meeting with counsel,
28   providing facts necessary for the preparation of the complaint, reviewing drafts of documents,
                                                       21
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 1   gathering and producing documents, preparing for and attending full-day in-person depositions,
 2   submitting declarations in support of the class certification motion, and reviewing and approving the
 3   settlement. See Kessler Decl. ¶¶ 20–24; Berman Final Approval Decl. ¶¶ 21–26; Declaration of Chuba
 4   Hubbard in Support of Plaintiffs’ Mot. for Attorneys’ Fees, Expenses and Service Awards ¶¶ 4, 5, 7;
 5   Declaration of Keira McCarrell in Support of Plaintiffs’ Mot. for Attorneys’ Fees, Expenses and
 6   Service Awards ¶¶ 4–5. Moreover, both Hubbard Class Representatives have been exposed to public
 7   scrutiny as a result of media attention associated with the case. See Weeks v. Kellogg Co., 2013 WL
 8   6531177, at *36 (C.D. Cal. Nov. 23, 2013) (“An incentive award is particularly appropriate where
 9   class representatives have attracted significant media attention and notoriety as a result of the
10   litigation, and experienced personal difficulties as a result.”). The extensive efforts and risks faced by
11   Hubbard and McCarrell support the requested incentive awards, which are especially reasonable
12   relative to the amount of the settlement that the Class Representatives helped secure. See, e.g., In re
13   High-Tech Emp. Antitrust Litig., 2015 WL 5158730, at *17–18 (N.D. Cal. Sept. 2, 2015) (approving
14   incentive awards of $120,000 and $80,000 in $324.5 million settlement); Marchbanks Truck Serv.,
15   Inc. v. Comdata Network, Inc., 2014 WL 12738907, at *4 (E.D. Pa. July 14, 2014) (approving one
16   $150,000 service award and two $75,000 service awards to class representatives in $130 million class
17   action settlement); In re Titanium Dioxide Antitrust Litig., 2013 WL 6577029, at *1 (D. Md. Dec. 13,
18   2013) (awarding $125,000 to lead class representative out of $163.5 million settlement).
19                                           III.    CONCLUSION
20          For all the foregoing reasons, Plaintiffs respectfully request that their Motion for Attorneys’
21   Fees, Reimbursement of Litigation Expenses, and Service Awards for Class Representatives be
22   granted.
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 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2
            Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in
 3
     the filing of this document has been obtained from the signatories above.
 4

 5                                                 ________/s/ Jeffrey L. Kessler_________
                                                           JEFFREY L. KESSLER
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